Case 1:17-CV-O7374-DAB Document 25 Filed 02/27/18 Page 1 of 1

RAO 154 (10/03) Substilwon ol`A\mmcy

UNITED STATES DISTRICT COURT

 

 

 

 

Southem Dis¢;-i¢¢ of New York
L & L°u"@ '-emmm '-"“"°d coNsEN'r onnER GRANTING
Plaintift"(s). SUBSTITUTION OF ATTORNEY
V.
C°u$di€m X"x Lfd. and Li$a Nunliafa, CASE NUMBER: 1;17.¢\[.07374-DAB
Def`endant (s),
Notice is hereby given that, subject to approval by the court, C°"Sdi°n X"X Lm- Substiiuws
(Pmy (I)Nm¢)
David A Sfein , State Bar No. 1332557 as counsel of record in
(Namo of New Allamey)

place of Danle| Adam Schnapp, Fox Rothschld (NVC)
(Nlm: ofAltomey (c) WilM-'awirm AWII'M)

Contact information for new counsel is as follows:

 

 

 

 

Firm Name; Moskowilz & Book, LLF'

Addw; 345 Sevanth Avenue, 21st F|., New Vork, NY 10001

Telepv¢ne: (212) 221-7999 hamm t212) 395-8835
E.Mail (opti°m|); dsteanmb-|Ip.com /1`1 /

 

l consent to the above substitution / /
Dm; 2126/2013 ,% ( \

l consent to being substituted
Date: 2126/2018

 

 

 

 

 

(Signme of Fonna Anomey (s))
l consent to dm above substitution
Date: 2/2612018

 

 

% /F&`
U be(§(ign¢\.¢mnfi¢wltmzy)

The substitution of attorney is hereby approved and so ORDERBD.

Date:

 

 

Judg¢

|Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appunnm]

